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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


U.S. EQUAL EMPLOYMENT                    Civil Action No. _________________
OPPORTUNITY COMMISSION,
                                         COMPLAINT
              Plaintiff,                 AND DEMAND FOR JURY TRIAL

               -against-                 INJUNCTIVE RELIEF SOUGHT

KANES FURNITURE, LLC,
D/B/A/ KANE’S FURNITURE,

              Defendant.


                              NATURE OF ACTION

      This is an action under Title VII of the Civil Rights Act of 1964 and Title I of

the Civil Rights Act of 1991 to correct unlawful sex-based employment practices and

to provide appropriate relief to Charging Party Alexis Cross (“Cross”) and a class of

female applicants for employment who were adversely impacted by such practices. As

alleged with greater specificity below, Defendant Kanes Furniture, LLC, d/b/a

Kane’s Furniture (“Kane’s”) failed to hire women for delivery driver, delivery

assistant, and warehouse associate positions in Florida based on their sex (female).

EEOC also alleges that Kane’s failed to file EEO-1 reports as required by Title VII,

42 U.S.C. § 2000e-8(c), and regulations issued thereunder, 29 C.F.R. § 1602.7-1062.14.

                           JURISDICTION AND VENUE

      1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331,
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1337, 1343, and 1345. This action is authorized and instituted pursuant to

Section 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964 (“Title VII”), as

amended, 42 U.S.C. § 2000e-5(f)(1) and (3), and Section 102 of Civil Rights Act of

1991, 42 U.S.C. § 1981a.

      2.     Venue is proper because a substantial part of the events giving rise to

Title VII violations occurred in the Middle District of Florida. Further, Kane’s is

headquartered in Pinellas Park, Florida, which is within the jurisdiction of the

U.S. District Court for the Middle District of Florida, Tampa Division.

                                       PARTIES

      3.     Plaintiff U.S. Equal Employment Opportunity Commission (“EEOC”)

is the agency of the United States of America charged with the administration,

interpretation, and enforcement of Title VII, and is expressly authorized to bring this

action by Section 706(f)(1) and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1) and (3).

      4.     Defendant Kane’s is a limited liability company registered to do business

in Florida, has continuously done business in Florida, and at all relevant times,

employed at least 15 employees.

      5.     Kane’s is a furniture store business that operates at least 17 locations

throughout Florida.

      6.     At all relevant times, Kane’s has continuously been an employer engaged

in an industry affecting commerce within the meaning of Sections 701(b), (g), and (h)

of Title VII, 42 U.S.C. §§ 2000e(b), (g), and (h).



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                           CONDITIONS PRECEDENT

       7.    More than thirty days prior to the institution of this lawsuit, Ms. Cross

filed a Charge of Discrimination with EEOC alleging that Kane’s violated Title VII.

       8.    EEOC issued a Letter of Determination, finding reasonable cause to

believe that Kane’s discriminated against Ms. Cross and a class of female applicants

based on sex. EEOC’s Letter of Determination further found reasonable cause to

believe that Kane’s failed to file EEO-1 reports.

       9.    Prior to initiating this lawsuit, EEOC attempted to correct the unlawful

employment practices alleged herein through informal methods of conciliation,

conference, and persuasion, to remedy the discriminatory practices and provide

appropriate relief.

       10.   All conditions precedent to the institution of this lawsuit have been

fulfilled.

                             STATEMENT OF FACTS

   A. Kane’s Failed to Hire Ms. Cross

       11.   Ms. Cross is a woman with one year of experience as a delivery driver at

the time she applied for a delivery driver position with Kane’s.

       12.   In 2021, Kane’s advertised online that it was hiring delivery drivers.

       13.   In response to a Kane’s online job advertisement, on October 13, 2021,

Ms. Cross applied to a Kane’s delivery driver opening.

       14.   The minimal requirements for the Kane’s delivery driver position



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consisted of:

                   Required Skills/Abilities/Credentials
                      • All candidates MUST have a valid Florida driver’s license
                      • Acceptable driving record
                      • Must pass pre-employment criminal background and drug test
                      • Previous experience in driving a box truck a plus
                      • Able to lift 75+ pounds with assistance (team lifting)
                      • Strong customer service skills
                      • Work schedule is Tuesday through Saturday – you will be
                          home every evening
                   Position based out of the Corporate Distribution Center located in
                   Pinellas Park, Florida; (St. Petersburg).

        15.     Ms. Cross was qualified for the Kane’s delivery driver position.

        16.     After Ms. Cross applied, she received an email from Kane’s inviting her

to attend a job fair at its Corporate Distribution Center on October 14, 2021.

        17.     The job fair invitation stated that Kane’s would be holding on-the-spot

interviews for warehouse and delivery positions and it would be making on-the-spot

job offers.

        18.     The next day, on October 15, 2021, Ms. Cross went to the Kane’s job

fair.

        19.     At the job fair, Ms. Cross met with Tevori Blake, a Kane’s Corporate

Recruiter.

        20.     Mr. Blake informed Ms. Cross that Kane’s was looking to hire a man for

the delivery driver position, and that it could not offer her the position because she was

female.

        21.     Mr. Blake further stated that the driver position required heavy lifting

when unloading trucks.
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      22.    Ms. Cross explained to Mr. Blake that she was a FedEx delivery driver

and had experience lifting heavy objects alone.

      23.    Mr. Blake stated that Ms. Cross’s experience at FedEx was likely limited

to small delivery vehicles, not large trucks like those used by Kane’s for deliveries.

      24.    Ms. Cross advised Mr. Blake that she was in fact experienced with large

trucks.

      25.    Nevertheless, Mr. Blake told Ms. Cross that she could not be hired

because Kane’s wanted to hire a man for the delivery driver position.

      26.    Mr. Blake had authority to hire candidates for employment to the

delivery driver position.

      27.    Mr. Blake had authority to reject candidates for employment to the

delivery driver position.

      28.    Kane’s never hired Ms. Cross for the delivery driver position.

      29.    Kane’s decision not to hire Ms. Cross for the delivery driver position was

made pursuant to its standard operating procedure of not hiring women for such

positions.

      30.    Ms. Cross suffered damages as a result of the conduct described herein.

   B. Kane’s Failed to Hire a Class of Women

      31.    From at least August 2021 to February 2023, Kane’s maintained a

standard operating procedure of denying employment to female applicants for delivery

driver, delivery assistant, and warehouse associate positions based on sex.

      32.    Specifically, Kane’s Chief Executive Officer, Irwin Novak, instructed
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Kane’s personnel not to hire women for driver or warehouse associate positions.

      33.    Qualified women applied for delivery driver, delivery assistant, and

warehouse associate positions at Kane’s.

      34.    Nevertheless, from August 2021 to February 2023, Kane’s did not hire

any women for delivery driver, delivery assistant, or warehouse associate positions.

      35.    Kane’s intentionally excluded female applicants for employment to

delivery driver, delivery assistant, and warehouse associate positions based on sex.

      36.    Kane’s intentionally denied female applicants for employment to

delivery driver, delivery assistant, and warehouse associate positions based on sex.

      37.    The class of aggrieved female applicants suffered damages as a result of

the conduct described herein.

   C. Kane’s Failed to File Employer Information Reports

      38.    In 2020, Kane’s failed file an accurate and complete Employer

Information Report EEO-1 (“EEO-1 report”).

      39.    In 2021, Kane’s failed file an accurate and complete EEO-1 report.

      40.    During EEOC’s investigation into Ms. Cross’s Charge of Discrimination,

EEOC requested EEO-1 reports from Kane’s.

      41.    Kane’s failed to produce any EEO-1 reports to EEOC.

                            STATEMENT OF CLAIMS

                                     Count I
            (Discrimination Against Ms. Cross in Violation of Title VII)

      42.    Paragraphs 11 to 37 are fully incorporated herein.

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      43.    Kane’s engaged in unlawful employment practices, in violation of

Section 703(a)(1) of Title VII, 42 U.S.C. § 2000e-2(a)(1), by subjecting Ms. Cross to

sex discrimination.

      44.    Specifically, Kane’s discriminated against Ms. Cross based on her sex by

failing to hire her because she is a woman.

      45.    The effect of the practices complained of in Paragraphs 11 to 37, above,

has been to screen out women, including Ms. Cross, from obtaining employment with

Kane’s, and to deprive women, including Ms. Cross, of equal employment

opportunities.

      46.    The unlawful employment practices complained of in Paragraphs 11 to

37, above, were done intentionally and with malice and/or with reckless indifference

to the federally protected rights of Ms. Cross.

      47.    Ms. Cross suffered damages as a result of the conduct described herein.

                                   Count II
 (Discrimination Against Class of Aggrieved Female Applicants for Employment
                           in Violation of Title VII)

      48.    Paragraphs 11 to 37 are fully incorporated herein.

      49.    Kane’s engaged in unlawful employment practices, in violation of

Section 703(a)(1) of Title VII, 42 U.S.C. § 2000e-2(a)(1), by subjecting a class of

aggrieved female applicants for employment to sex discrimination.

      50.    Specifically, Kane’s discriminated against a class of aggrieved female

applicants for employment for the delivery driver, delivery assistant, and warehouse

associate positions based on their sex by failing to hire them because they are women.
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      51.    The effect of the practices complained of in Paragraphs 11 to 37, above,

has been to screen out women from obtaining employment with Kane’s, and to deprive

women of equal employment opportunities.

      52.    The unlawful employment practices complained of in Paragraphs 11 to

37, above, were done intentionally and with malice and/or with reckless indifference

to the federally protected rights of a class of aggrieved female applicants for

employment.

      53.    The class of aggrieved female applicants suffered damages as a result of

the conduct described herein.

                                  Count III
         (Failure to Complete EEO-1 Reporting in Violation of Title VII)

      54.    Paragraphs 38 to 41 are fully incorporated herein.

      55.    Since at least 2020 to the present, Kane’s has failed, in violation of

Section 709(c) of Title VII, 42 U.S.C. § 2000e-8(c), and regulations issued thereunder,

29 C.F.R. § 1602.7-1602.14, to prepare, execute, and file accurate and complete

EEO-1 reports.

      56.    Section 709(c) of Title VII, 42 U.S.C. § 2000e-8(c), authorizes EEOC to

require employers to make records, preserve records, and report to EEOC concerning

records “relevant to the determinations of whether unlawful practices have been or are

being committed.”

      57.    By regulations codified at 29 C.F.R. §§ 1602.7-1602.14, EEOC requires

all employers with more than one hundred employees, such as Kane’s, to file an

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annual EEO-1 report with EEOC or its delegate.

      58.    The regulations also require employers to retain and make available such

reports when requested by EEOC during its investigation of charges.

      59.    During the investigation of Ms. Cross’s Charge of Discrimination, EEOC

requested EEO-1 reports from Kane’s.

      60.    Kane’s failed to produce any EEO-1 reports.

      61.    Kane’s failed to file such EEO-1 reports as required by law.

                                PRAYER FOR RELIEF

      WHEREFORE, EEOC respectfully requests that this Court:

      A.     Grant a permanent injunction enjoining Kane’s, its officers, agents,

servants, managers, employees, and all persons in active concert or participation with

it, from participating in discriminatory conduct based on sex;

      B.     Order Kane’s to institute and carry out policies, practices, and programs

which provide equal employment opportunities for prospective female employees and

which eradicate the effects of its past and present unlawful employment practices;

      C.     Order Kane’s to make Ms. Cross, and the class of aggrieved female

applicants, whole, by providing appropriate backpay with prejudgment interest, in

amounts to be determined at trial, and other affirmative relief necessary to eradicate

the effects of its unlawful employment practices including but not limited to

instatement and/or front pay;

      D.     Order Kane’s to make Ms. Cross, and the class of aggrieved female

applicants, whole, by providing compensation for past and future pecuniary and non-
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pecuniary losses resulting from the unlawful employment practices described above,

including, emotional pain, suffering, inconvenience, loss of enjoyment of life, and

humiliation, in amounts to be determined at trial;

      E.     Order Kane’s to pay Ms. Cross and the class of aggrieved female

applicants punitive damages for its malicious and reckless conduct described above, in

amounts to be determined at trial;

      F.     Order that Kane’s, without further delay, prepare, execute, and file

accurate and complete EEO-1 reports as required by law for each calendar year from

2020 to the present;

      G.     Grant such further relief as the Court deems necessary and proper in the

public interest; and

      H.     Award EEOC its costs of this action.

                             JURY TRIAL DEMAND

      EEOC requests a jury trial on all questions of fact raised by its Complaint.


Date: September 13, 2023

                                              Respectfully submitted,

                                              U.S. EQUAL EMPLOYMENT
                                              OPPORTUNITY COMMISSION

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